Case:17-03283-LTS Doc#:22850 Filed:11/13/22 Entered:11/13/22 16:56:17             Desc: Main
                            Document Page 1 of 3



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF PUERTO RICO


    In re:                                             PROMESA
                                                       Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,                  No. 17 BK 3283-LTS

             as representative of

    THE COMMONWEALTH OF PUERTO RICO, et                (Jointly Administered)
    al.,

                           Debtors


       RESPONSE TO OBJECTION TO MOTION FOR RELIEF FROM THE
                         AUTOMATIC STAY

        COMES NOW creditor José Miguel Malvet Santiago (hereinafter, the “Movant”),

  through the undersigned legal counsel, and respectfully sets forth and prays:

        1.       Movant has a claim before the Commission for Appeals of Public Service

  (“CASP”) for his wrongful termination from the Puerto Rico Department of Corrections

  and Rehabilitation (DCR from its initials in Spanish).

        2.       Movant’s case before the CASP – José Miguel Malvet v. Administración de

  Corrección, Case No. 2007-07-0025 – was stayed once the case of caption was

  commenced.

        3.       Movant had engaged with Debtor in negotiations for the modification of the

  bankruptcy stay, but due to numerous clerical and personal challenges, continuation of

  the stay modification process was stalled.

        4.       When retaking the matter subsequently, Debtor was no longer willing to

  modify the stay as had been the case before.
Case:17-03283-LTS Doc#:22850 Filed:11/13/22 Entered:11/13/22 16:56:17                Desc: Main
                            Document Page 2 of 3



         5.     Thus, on 23 September 2022, Movant filed a motion for relief from stay

  requesting the stay be modified to allow the continuance of his administrative case before

  the Commission for Appeals of Public Service (“CASP”).

         6.     On 28 October 2022, Debtor filed an objection to Movant’s request for relief

  by, in essence, stating that lifting the stay and allowing Movant’s claim to proceed to final

  judgment would be a waste of the Commonwealth’s resources, would significantly

  interfere with the administration of the Title III case and circumvent the requirements in

  the Confirmation Order”.

         7.     Debtor’s report of Movant’s request interfering with the administration of

  the present case and wasting the Commonwealth’s resources are grossly exaggerated.

         8.     Movant seeks relief from the automatic stay precisely because he is seeking

  redress for his wrongful termination under state and, more specifically, under

  administrative law.

         9.     Far from being a purely monetary claim, Movant’s claim is for remedy

  against unjust termination of his employment. Though there is an economic factor in the

  possibility of there being wrongfully unpaid wages, the actual employment and the harm

  of its termination on Movant’s pride and emotional well-being is the crux of the matter.

         10.    The CASP is the proper venue for determining whether Movant was unduly

  terminated and whether there is a valid claim for unpaid wages. As is the case in

  circumstances such as these, enforcement of the claim requires the resolution of issues

  which, under a regulatory scheme, have been placed within the special competence of an

  administrative body; in such a case the judicial process is suspended pending referral of

  such issues to the administrative body for its views. United States v. W. Pac. Ry. Co., 352




                                               2
Case:17-03283-LTS Doc#:22850 Filed:11/13/22 Entered:11/13/22 16:56:17                 Desc: Main
                            Document Page 3 of 3



  U.S. 59, 64 (1956); see also Miller v. WD-40 Co., 29 F. Supp. 2d 1040, 1045 (D. Minn.

  1998).

           11.    The remedy Movant seeks will not prejudice the interests of other creditors

  and it will not interfere with the continuation of the proceedings in the case of caption.

  Movant’s monetary claim would still be subject to the conditions of Debtor’s plan, but the

  his employment status and, more importantly, he would not be denied the satisfaction of

  clearing his name from the stigma of being wrongfully terminated.

           WHEREFORE, Movant respectfully requests from the Honorable Court to take

  notice the foregoing and enter an order modifying the automatic stay so that Case No.

  2007-07-0025 before the Commission for Appeals of Public Service may continue.

                                 CERTIFICATE OF SERVICE

           I hereby certify that, on 13 November 2022, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send notification of such

  filing to all counsel of record and parties in the Master Service List.



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